    Case 2:23-cr-00521-FMO Document 9 Filed 10/25/23 Page 1 of 1 Page ID #:70


 Memorandum                                            10/25/2023
       2:23-cr-00521-FMO
                                                                JB

                                                        Date:
 Subject:
                                                        October 24, 2023
 United States v. NAASON JOAQUIN GARCIA
                                                        From:
 To:
                                                        CATHARINE A. RICHMOND
 KIRY K. GRAY
                                                        Assistant United States Attorney
 Clerk, United States District Court
                                                        Criminal Division
 Central District of California

The above-referenced matter, being filed on October 25,

              x Relates to (1) a matter that was pending in the USAO on or before January 13, 2023,
              the date the Honorable Stephanie S. Christensen resigned from her position as the First
              Assistant United States Attorney for the Central District of California; or (2) a matter in
              which Stephanie S. Christensen was personally involved or about which she was
              personally consulted while employed in the USAO (between April 2008 and July 2023).




                                                        CATHARINE A. RICHMOND
                                                        Assistant United States Attorney
